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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

                            v.
                                                          Case No. 21-cr-246 (ABJ)
 DANIEL RODRIGUEZ,

               Defendant.


                                              ORDER

       Defendant was arrested on March 31, 2021 in Fontana, California. ECF No. 5. Defend-

ant had an initial appearance pursuant to Federal Rule of Criminal Procedure 5(c)(2) in the Cen-

tral District of California on March 31, 2021 and a detention hearing before the same court on

April 2, 2021. ECF No. 8 at 24. Defendant was held and ordered removed to the District of Co-

lumbia. Id. at 17, 22. A status hearing to address appointment of counsel has been set for April

23, 2021 at 3:00 p.m. before this Court. Defendant will attend the hearing remotely from a Cali-

fornia detention facility. In the Interest of Justice and to protect the Constitutional rights of De-

fendant, it is hereby

       ORDERED that the United States Marshals Service shall keep Defendant in his current

detention facility until April 23, 2021 in order to ensure his appearance at the status hearing

scheduled before this Court. The United States Marshals Service shall not transport the defendant

to Washington, D.C. until after April 23, 2021. The United States Marshals Service shall coordi-

nate with the detention facility, counsel, and this Court to ensure the defendant is available for

any future remote hearings.



       SO ORDERED.
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                                                          Michael Harvey
                                                          Date: 2021.04.20
                                                          16:12:46 -04'00'
Date: April 20, 2021                       _______________________________
                                           G. Michael Harvey
                                           United States Magistrate Judge




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